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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Alexandria Division


 UNITED STATES OF AMERICA,


                   V.                                          Criminal No. 1:17-CR-154


 KEVIN PATRICK MALLORY,
          Defendant.


                                        MEMORANDUM OPINION


         Following a four-day trial, a jury convicted defendant of the following four counts of the

indictment:

             Count 1: conspiracy to gather or deliver defense information to aid a foreign
             government in violation of 18 U.S.C. § 794(c);
             Count 2: delivery of defense information to aid a foreign government in
             violation of 18 U.S.C. § 794(a);
             Count 3: attempted delivery of defense information to aid a foreign
             government in violation of 18 U.S.C. § 794(a); and
             Count 4: making material false statements in violation of 18 U.S.C. §
             1001(a)(2).

Defendant then moved forjudgment ofacquittal pursuant to Rule 29,Fed. R. Crim.P., with respect

to Counts 1, 2 and 3 on a variety of grounds.' Following briefing, a Memorandum Opinion and

Order dated July 26,2018 issued, denying in part and granting in part defendant's Rule 29 motion.

 United States v. Mallory, _ F. Supp. 3d _(E.D. Va. 2018){''Mallory F'); United States v. Mallory,

No. l:17-cr-00154-TSE-l, Order, ECF No. 202 (Jul. 26, 2018). Specifically, defendant's motion

was granted with respect to Counts 2 and 3 on the ground that the government's evidence did not

establish venue for those Counts, but the motion was denied in all other respects. The government


'Specifically, defendant argued judgment of acquittal was required because (i)the government's evidence at trial
was insufficient to support the conspiracy charge alleged in Count 1,(ii) it was an error to deny defendant's request
for a buyer-seller instruction in connection with the conspiracy charge alleged in Count 1, and (iii) the government's
evidence at trial was insufficient to support a finding of venue for the offenses charged in Counts 2 and 3. Mallory I.

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